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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SHAUN MCCUTCHEON and
 MCCUTCHEON FOR FREEDOM,

         Plaintiffs,
                v.                                             Civil Action No. 20-2485 (JDB)
 FEDERAL ELECTION COMMISSION,

         Defendant.



                                MEMORANDUM OPINION
       This case raises overlapping questions of administrative and campaign finance law on the

eve of the 2020 elections, projected to be the costliest—by far—in the nation’s history. See Ctr.

For Responsive Politics, 2020 Election to Near $11 Billion in Total Spending, Smashing Records,

OpenSecrets.org (Oct. 1, 2020), https://www.opensecrets.org/news/2020/10/2020-election-to-

near-11-billion-in-total-spending-smashing-records/. Plaintiff Shaun McCutcheon launched a

primary campaign for the Libertarian Party’s nomination for president on May 1, 2020, suspending

it less than a month later after the party convention. During the pendency of his campaign,

McCutcheon transferred $65,000 of his own money into his campaign committee, McCutcheon

For Freedom (“MFF,” together with McCutcheon, “plaintiffs”). The campaign incurred net

expenditures of $10,793.08, leaving it with approximately $54,206.92 in leftover funds.

       The day after McCutcheon suspended his campaign, he sought an advisory opinion from

the Federal Election Commission (“FEC”) that would authorize MFF to transfer that remainder,

as well as unlimited additional personal funds McCutcheon may “contribute” to his now-

suspended campaign committee, to the national committees of the Libertarian and Republican


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parties, notwithstanding statutory limits on the amount an individual may contribute to a national

party committee. Rather than issue the requested advisory opinion within the statutory sixty-day

period, though, the FEC ultimately sent plaintiffs a letter on August 10, 2020, stating that the

Commission was unable to render an advisory opinion for want of the four-member quorum

required by statute to take action on advisory opinion requests.

        In response, plaintiffs filed a complaint in this Court accompanied by a motion for a

preliminary injunction. In their motion, plaintiffs seek to bar the FEC from taking any action

against them to enforce relevant campaign finance laws limiting contributions to political parties,

as McCutcheon proposes to transfer unlimited amounts of his personal funds through his campaign

committee, MFF, to the national committees of the Libertarian and Republican Parties. In order

to obtain a preliminary injunction, plaintiffs must demonstrate, among other things, that they are

likely to succeed on the merits of their substantive claims. Because they have not done so, the

Court will deny plaintiffs’ motion.

                                        BACKGROUND

   I.      Legal Background

           A. Campaign Finance Law

        The Federal Election Campaign Act of 1971 (“FECA”) regulates, in relevant part, the

amount of money a person may contribute to candidates for federal office, federal political

campaign committees, and national political party committees for the purpose of influencing a

federal election. See 52 U.S.C. §§ 30101–30146. Contribution limits have withstood scrutiny

under the First Amendment since the Supreme Court’s seminal campaign finance decision,

Buckley v. Valeo, 424 U.S. 1 (1976). In Buckley, the Court rejected a First Amendment challenge


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to caps on contributions to individual candidates, finding that “the Act’s primary purpose to limit

the actuality and appearance of corruption resulting from large individual financial

contributions . . . [provides] a constitutionally sufficient justification” for capping individual

contributions at a set dollar amount per candidate. Id. at 26.

       The same principle animates limits on contributions to political party committees, which

were first enacted in Buckley’s wake. See FECA Amendments of 1976, Pub. L. No. 94-283,

§ 112(2), 90 Stat. 475, 487 (1976) (codified as amended at 52 U.S.C. § 30116(a)(1)(B)). Today,

under FECA, a person may not contribute more than $35,500 to a national party committee. FEC,

Contribution    Limits,    https://www.fec.gov/help-candidates-and-committees/candidate-taking-

receipts/contribution-limits/ (last visited Oct. 19, 2020); see 52 U.S.C. § 30116(a)(1)(B) & (c). A

national party committee, in turn, may not “receive . . . a contribution, donation, or transfer of

funds or any other thing of value, or spend any funds, that are not subject to the limitations,

prohibitions, and reporting requirements of this Act.” id. § 30125(a)(1). In upholding the latter

provision from a First Amendment challenge in McConnell v. FEC, the Supreme Court explained

that “[t]he premise behind these restrictions [on contributions to political party committees] has

been, and continues to be, that contributions to a federal candidate’s party in aid of that candidate’s

campaign threaten to create—no less than would a direct contribution to the candidate—a sense of

obligation.” 540 U.S. 93, 144 (2003). Even as Supreme Court decisions in the intervening decades

have struck down other restrictions on campaign spending, the basic principle behind contribution

limits—whether to individual candidates, their campaign committees, or national party

committees—has survived. See, e.g., McCutcheon v. FEC, 572 U.S. 185, 209, 227 (2014)

(rejecting limits on aggregate spending by an individual across multiple campaigns but “leav[ing]

the base [contribution limits upheld in Buckley] undisturbed”); Citizens United v. FEC, 558 U.S.


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310, 359, 365 (2010) (striking down limits on independent corporate expenditures but recognizing

that “contribution limits . . . have been an accepted means to prevent quid pro quo corruption”);

accord Rufer v. FEC, 64 F. Supp. 3d 195, 203 (D.D.C. 2014) (“FECA’s base contribution limits .

. . remain intact after McCutcheon.”).

       Beyond merely imposing numerical caps on contributions, FECA safeguards against

circumvention of its anti-corruption objectives. Cf. McCutcheon, 572 U.S. at 200 (“[S]tatutory

safeguards against circumvention have been considerably strengthened since Buckley was

decided, through both statutory additions and the introduction of a comprehensive regulatory

scheme.”). For starters, FECA prevents donors from using means other than cash to influence

candidates by broadly defining “contribution” to include “any gift, subscription, loan, advance, or

deposit of money or anything of value made by any person for the purpose of influencing any

election for Federal office.” 52 U.S.C. § 30101(8)(A)(i). The Act also includes measures that

prohibit donors from using intermediaries to funnel contributions to the desired recipient while

formalistically complying with contribution limits. For example, the Act clarifies that, for the

purpose of calculating contribution limits, “all contributions made by a person, either directly or

indirectly, on behalf of a particular candidate, including contributions which are in any way

earmarked or otherwise directed through an intermediary or conduit to such candidate, shall be

treated as contributions from such person to such candidate.” Id. § 30116(a)(8). Similarly, FECA

requires that “[n]o person shall make a contribution in the name of another person or knowingly

permit his name to be used to effect such a contribution, and no person shall knowingly accept a

contribution made by one person in the name of another person.” Id. § 30122.

       Notwithstanding FECA’s limits on contributions by persons, “[a] contribution accepted by

a candidate . . . may be used by the candidate . . . for transfers, without limitation, to a national,

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State, or local committee of a political party.” Id. § 30114(a)(4). This statutory provision does

not apply to all funds in a campaign account, but only to “contribution[s] accepted by a

candidate.” 1 See id. The Act does not define what it means for a candidate to “accept” a

contribution, but it does bar candidates and political committees from “knowingly accept[ing] any

contribution . . . in violation of” FECA’s contribution limits. See id. § 30116(f). The Court is not

aware of, nor have the parties identified, any judicial precedent or FEC advisory opinions

interpreting the precise contours of when a contribution is deemed “accepted by a candidate” so

as to be eligible for unlimited transfer to a party committee under § 30114(a)(4).

         Contrary to constitutionally permissible limits on contributions, restrictions on campaign

expenditures—whether of funds drawn from a candidate’s own personal funds or raised by their

campaign committees—were blocked at the gate in Buckley. Unlike the Act’s contribution limits,

the Supreme Court reasoned, “[t]he Act’s expenditure ceilings impose direct and substantial

restraints on the quantity of political speech, . . . [and] limit political expression ‘at the core of our

electoral process and of the First Amendment freedoms.’” Buckley, 424 U.S. at 39 (quoting

Williams v. Rhodes, 393 U.S. 23, 32 (1968)). Accordingly, it held that “the First Amendment

requires the invalidation of [FECA’s] . . . ceilings on overall campaign expenditures.” Id. at 58.

         Because “a candidate’s expenditure of his personal funds directly facilitates his own

political speech,” Buckley further established that Congress cannot limit how much of a

candidate’s own funds can be spent on his or her campaign. Id. at 53 & n.58. The FEC enshrined

this principle in 11 C.F.R. § 110.10, which provides that “candidates for Federal office may make



         1
          It may be that the “accepted by” limitation on transfers from campaigns to political parties does not in itself
pose any meaningful restraints on which campaign funds are eligible: the FEC’s regulation implementing Section
30114(a) simply provides for the unlimited transfer of “funds in a campaign account” without more. See 11 C.F.R.
§ 113.2.

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unlimited expenditures from personal funds,” and then clarified that this allows a candidate to

make “unlimited contributions to his or her own campaign,” FEC Advisory Op. 2003-31 at 2 (Dec.

19, 2003) (citing FEC Advisory Op. 1997-10 at 3 (Aug. 15, 1997)).

       By the same token, the Supreme Court has struck down other limits on campaign spending

that have the effect of banning certain forms of political expenditures outright. In Citizens United,

the Court cited Buckley’s rejection of expenditure limits as it invalidated a law that imposed

criminal sanctions—and thereby acted as an “outright ban”—on corporate electioneering

communications. 558 U.S. at 337, 346, 365. Four years later, McCutcheon—one of the plaintiffs

here—challenged the Act’s aggregate limits on contributions, which capped the amount an

individual could spend in a given election cycle across all races. See McCutcheon, 572 U.S. at

204–05. The Court distinguished between the so-called “base limits” upheld in Buckley on the

one hand (i.e., caps on the amount a person can contribute to a single candidate, campaign, or party

committee), and the challenged aggregate limits on the other, which the court found to “constitute

an outright ban on further contributions” to additional candidates, thereby “deny[ing] the

individual all ability to exercise his expressive and associational rights by contributing to someone

who will advocate for his policy preferences.” See id. at 204. By analogizing aggregate limits to

impermissible limits on expenditures, McCutcheon “le[ft] the base limits undisturbed.” Id. at 209

& n.6 (noting that McCutcheon also “does not overrule McConnell’s holding about ‘soft money’”

limits on contributions to party committees).

           B. The FEC Advisory Opinion Process

       The 1974 amendments to FECA created the FEC “and vest[ed] in it primary and substantial

responsibility for administering and enforcing the Act.” Buckley, 424 U.S. at 109. Of relevance

here, the FEC is empowered “to render advisory opinions under section 30108 of this title” and

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“to make, amend, and repeal such rules . . . as are necessary to carry out the provisions of th[e]

Act.” 52 U.S.C. § 30107(a)(7)–(8).

        Section 30108, in turn, permits a person to request an advisory opinion “concerning the

application of [FECA], or a rule or regulation prescribed by the Commission, with respect to a

specific transaction or activity by the person,” and requires the Commission to “render a written

advisory opinion relating to such transaction or activity” no more than sixty days after receiving a

“complete written request.” Id. § 30108(a)(1). It further requires the FEC to publish any request

for an advisory opinion and “accept written comments submitted by any interested party within

the 10-day period following the date the request is made public.” Id. § 30108(d). If the FEC

renders a favorable advisory opinion in response to a request, the requestor, and any person

involved in an identical transaction or activity to that described in the request, may rely in good

faith on the opinion and will be protected from any sanction under FECA that might otherwise

attach to the transaction or activity. Id. § 30108(c).

        Importantly here, Section 30108 does not stand alone. Section 30106 provides that “the

affirmative vote of 4 members of the Commission shall be required in order for the Commission

to,” inter alia, render an advisory opinion. Id. § 30106(c). The FEC’s rules of procedure further

require the presence of a four-member “quorum for the consideration and resolution of matters

that involve the exercise of [the FEC’s] duties and powers under the [FECA].” FEC, Directive 10

(June    8,    1978      amend.      Dec.     20,       2007),   https://www.fec.gov/resources/cms-

content/documents/directive_10.pdf. Obviously, absent a four-member quorum, the FEC cannot

generate the four affirmative votes necessary to approve or reject an advisory opinion request. In

part to square the four-vote requirement with the sixty-day window for issuing advisory opinions,

the FEC promulgated a rule providing that, in lieu of a requested advisory opinion, it may issue “a

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written response stating that the Commission was unable to approve an advisory opinion by the

required affirmative vote of 4 members” within sixty days of receiving a complete request. 11

C.F.R. § 112.4(a).

   II.      Factual Background

         The story of this case begins before the facts underlying the present action came to be. On

March 20, 2020, billionaire and former Democratic presidential candidate Michael Bloomberg

announced that he was transferring $18 million from his self-funded presidential campaign to the

Democratic National Committee (“DNC”). Compl. at 1–2 (citing Dan Merica et al., Bloomberg

Campaign      Transfers   $18    Million   to   DNC,    CNN     (Mar.    20,   2020,   3:26   PM),

https://www.cnn.com/2020/03/20/politics/bloomberg-campaign-money-dnc/index.html).               The

following week, Dan Backer, who is plaintiffs’ counsel in the present action as well as MFF’s

treasurer and custodian of records, filed a complaint with the FEC alleging that by transferring his

campaign funds to the DNC, Bloomberg “brazenly engag[ed] in one of the largest willful campaign

finance violations of all time, . . . circumvent[ing] contribution limits through the simply [sic]

expedient of laundering millions of dollars through his now-defunct campaign account.” FEC

MUR 7722, Compl. (Mar. 24, 2020) (“Bloomberg Compl.”) at 1–2, available at

https://secure.greatamericapac.com/Images/Bloomberg_FEC_Complaint.pdf. Backer also gave

multiple media interviews on his opposition to Bloomberg’s contribution and authored an op-ed

in the Washington Examiner headlined “Michael Bloomberg is Breaking Campaign Finance Law

Before Your Very Eyes,” likewise arguing that Bloomberg’s transfer of funds constituted an

unlawful contribution to a political party in excess of statutory limits. Dan Backer, Michael

Bloomberg is Breaking Campaign Finance Law Before Your Very Eyes, Wash. Examiner

(Mar. 26, 2020),     https://www.washingtonexaminer.com/opinion/op-eds/michael-bloomberg-is-

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breaking-campaign-finance-law-before-your-very-eyes; see also, e.g., Andrew Keiper, Bloomberg

Campaign Hit with FEC Complaint for $18 Million Transfer to DNC, Fox News (Mar. 27, 2020),

https://www.foxnews.com/politics/bloomberg-campaign-hit-with-fec-complaint-for-18-million-

transfer-to-dnc (quoting Backer saying, “If you allow Bloomberg to do this, you’re giving

democracy to a billionaire oligarch.”). Bloomberg’s highly publicized transfer of funds provides

the backdrop for the present action, to which the Court now turns.

           A. The McCutcheon Campaign

       On May 6, Backer filed a Statement of Organization with the FEC on behalf of MFF

officially launching McCutcheon’s campaign for the Libertarian Party’s nomination for president.

See McCutcheon for Freedom, FEC Form 1, Statement of Organization, FEC (May 6, 2020),

https://docquery.fec.gov/cgi-bin/forms/C00745661/1404556/.        McCutcheon is an Alabama

businessman and political activist who rose to national notoriety in 2014, when he prevailed in the

aforementioned Supreme Court case that struck down statutory limitations on the aggregate

amount an individual can contribute to political campaigns in a given election cycle. See

McCutcheon for Freedom, https://mccutcheonforfreedom.com (last visited Oct. 19, 2020);

McCutcheon, 572 U.S. at 194–95.

       To advance his presidential campaign, McCutcheon produced and posted a campaign

video, launched a campaign website, placed online advertisements, and sent campaign emails and

text messages to Libertarian Party delegates. Compl. [ECF No. 1] at 5. Expenditures for these

services, totaling $12,698.50, were duly reported to the FEC. See Spending by McCutcheon for

Freedom, FEC, https://www.fec.gov/data/candidate/P00016030/?cycle=2020&election_full=fals

e&tab=spending (last visited Oct. 19, 2020). McCutcheon has also stated that Mike Byrne served

as his campaign manager and Ron Nielsen served as special advisor, although there are no recorded

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disbursements from his campaign fund to either. See id.; Compl. at 5. McCutcheon does not

appear to have made any media appearances or issued any policy statements. The lone Twitter

thread by Dave Levinthal of the Center for Public Integrity mentioning McCutcheon’s campaign—

cited in his advisory opinion request as an example of his “candidacy [being] discussed online,”

Compl. Ex. 1 [ECF No. 1-1] at 2—appears in fact to be the only coverage of his campaign prior

to its suspension and his subsequent engagement with the FEC. McCutcheon did not participate

in any of the Libertarian Party’s state primary contests or take part in any of the party’s twenty-

two primary debates, including the nationwide debate at the Libertarian National Convention on

May 21, 2020. See FEC’s Mem. in Opp’n to Mot. for Prelim. Inj. (“Opp’n”) [ECF No. 11] at 10–

12 & n.3. And his campaign’s Facebook page made only three posts, which were simply links to

his website and campaign video. See McCutcheon for Freedom, Facebook (last updated May 13,

2020), https://facebook.com/McCutcheonforFreedom.

       The Libertarian Party held its national convention from May 21–23, 2020, and Jo Jorgensen

and Spike Cohen were nominated as the party’s candidates for president and vice president,

respectively.   Brian Doherty, Libertarian Party Picks Spike Cohen as its Vice-Presidential

Candidate, Reason (May 24, 2020), https://reason.com/2020/05/24/libertarian-party-picks-spike-

cohen-as-its-vice-presidential-candidate/.   McCutcheon did not receive any votes at the

convention, see Opp’n at 12, and suspended his campaign thereafter, see Mem. of Law in Supp.

of Pls.’ Mot. for Prelim. Inj. [ECF No. 2-1] at 3. At that time, he had approximately $54,000

remaining in his campaign account. Compl. at ¶ 17.

           B. The Advisory Opinion Request

       On May 29, 2020, Backer submitted a request for an advisory opinion to the FEC on behalf

of plaintiffs. Compl. Ex. 1. McCutcheon appended a declaration in support of the advisory opinion

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request setting forth facts relevant to the FEC’s consideration. Compl. Ex. 2 [ECF No. 1-2]. In

addition to affirming many of the facts laid out above, McCutcheon’s declaration states that he

“was solely responsible for funding MFF,” and “maintain[s] complete direction and control over

MFF’s funds and expenditures.”               Id. at ¶¶ 8, 12.        Plaintiffs also appended McCutcheon’s

declaration to the present motion for a preliminary injunction. Mot. for Prelim. Inj. Ex. 2 [ECF

No. 2-2].

         The purpose of the advisory opinion request was purportedly to obtain a determination that

the following transactions (the “Proposed Transactions”) are legal under FECA: 2

    1. McCutcheon transfers $50,000 of the personal funds he has deposited into the account of
       MFF, his authorized principal presidential candidate committee, to the general, unrestricted
       federal account of the Libertarian National Committee, Inc. (“LNC”), a national political
       party committee.

    2. McCutcheon deposits unlimited amounts of additional personal funds into MFF’s account,
       then transfers those funds without limit to the general, unrestricted federal account of the
       LNC and/or the general, unrestricted federal account of the Republican National
       Committee (“RNC”), a national political party committee.
Compl. Ex. 1 at 3. However, the advisory opinion request paints a less-than-optimistic picture of

the Proposed Transactions’ legality. It details the story of Bloomberg’s $18 million contribution

to the DNC described above and states that McCutcheon now “wishes to take advantage of the

‘Bloomberg Billionaire Loophole,’ . . . but wishes to confirm the legality of circumventing and

undermining campaign finance law in this manner before doing so.” Id. “Unlike Bloomberg,” the

request states, “McCutcheon cannot rely on the pervasively Democratic Deep State federal

bureaucracy to shield him from administrative proceedings or criminal prosecution.” Id. at 1.




         2
           The Proposed Transactions underlying plaintiffs’ advisory opinion request are the same as those plaintiffs
ask this Court to declare legal and protect from adverse agency action through the issuance of a preliminary injunction.
Compare Compl. Ex. 1 at 2, with Mem. of Law in Supp. of Pls.’ Mot. for Prelim. Inj. at 15.

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       The legal analysis contained in the request largely mirrors the claims Backer pressed

against Bloomberg in his March 24 FEC complaint. Compare id. at 4–7, with Bloomberg Compl.

All the request offers in support of the legality of the Proposed Transactions is to note that “[t]he

supposed legal basis for this money laundering scheme is likely 52 U.S.C. § 30114(a)(4),”

providing for unlimited transfers of “contribution[s] accepted by a candidate” to political party

committees. Compl. Ex. 1 at 3–4. The request then goes on to describe, without qualifying, “four

main reasons why the Commission may conclude the Bloomberg Billionaire Loophole is invalid,

and it would be illegal for McCutcheon to engage in his intended course of action”: (1) the transfers

from his entirely self-funded campaign “must be treated as contributions directly from

McCutcheon himself” in excess of individual contribution limits; (2) the transfers may “constitute

illegal contributions in the name of another”; (3) McCutcheon’s transfers of his own funds to MFF

were not “contribution[s] accepted by a candidate” for the purposes of 52 U.S.C. § 30114(a)(4),

and thus cannot be transferred without limit to a party committee; and (4) transfers of funds from

an individual candidate to his own campaign committee that are not made in furtherance of his

own campaign are not entitled to the protections afforded to campaign expenditures, and instead

would constitute contributions in excess of legal limits. Compl. Ex. 1 at 4–7.

       On June 9, 2020, following an email exchange between the FEC and plaintiffs’ counsel,

the Commission deemed plaintiffs’ advisory opinion request “complete,” thereby starting the

sixty-day clock for resolution. See Compl. at ¶ 23. On the same date, the request was made public

for comment, opening the statutory ten-day public comment period, pursuant to which the FEC

received one public comment from the Campaign Legal Center on June 19 arguing that the

proposed transfers were illegal. Opp’n at 14. On or before July 20, FEC staff requested that

plaintiffs waive or extend the sixty-day deadline, since the Commission lacked the requisite


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quorum to even discuss plaintiffs’ request, let alone render an advisory opinion with four

affirmative votes. Compl. at ¶ 24. On July 20, plaintiffs declined. Compl. Ex. 4 [ECF No. 1-4]

at 1. On August 10, FEC Associate General Counsel Nevin F. Stipanovic sent plaintiffs a letter

indicating that the Commission was unable to render an advisory opinion for want of the required

four-member quorum. Id.

           C. The FEC’s Short-Lived Quorum

        At the time the FEC received plaintiffs’ advisory opinion request, it had not had a quorum

since August 31, 2019. Opp’n at 14. On June 5, 2020, the FEC obtained a quorum when James

E. “Trey” Trainor III was sworn in as its fourth Commissioner. Id. An extensive backlog of

matters requiring a quorum to resolve existed at that time. Id. One Commissioner placed the

number of staff reports awaiting Commission action when the quorum was restored at 248.

Statement of Comm’r Ellen L. Weintraub on the Restoration of the FEC’s Quorum, FEC (June 18,

2020)       (hereinafter      “Weintraub        Stmt.”),      https://www.fec.gov/resources/cms-

content/documents/2020-06-18_ELW_quorum_restoration_statement.pdf. Just three weeks later,

on June 26, then-Commissioner Caroline Hunter announced her resignation from the FEC, which

became effective on July 3, once again depriving the Commission of its four-member quorum.

Opp’n at 14. The FEC did not release a draft advisory opinion in response to plaintiffs’ request

before, at, or after its lone open meeting during its short-lived quorum, which was held on June 18

amidst the ten-day public comment period. Id. at 22 n.9.

           D. The Present Action

        On September 4, 2020, plaintiffs filed a complaint in this Court seeking injunctive and

declaratory relief against the FEC, as well as a motion for preliminary injunction that would


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“protect them from administrative, civil, or criminal proceedings or penalties for transferring

personal funds in McCutcheon’s campaign account to the LNC’s general treasury notwithstanding

any contribution limits set forth in [FECA].” Compl. at 3.

       The complaint presses four counts against the FEC. Count I alleges that, “[b]y failing to

fulfill its statutory obligation to issue an advisory opinion confirming the legality of McCutcheon’s

and MFF’s intended course of conduct, the Commission has substantially burdened and chilled

their exercise of First Amendment rights.” Id. at ¶ 34. Count II alleges that “the Commission’s

refusal to issue an advisory opinion violated 52 U.S.C. § 30108(a)” and “deprived McCutcheon

and MFF of the ‘safe harbor’ which Congress established under 52 U.S.C. § 30108(c)(2).” Id. at

¶¶ 42, 44. Count III alleges that, under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706,

the FEC “unlawfully withheld an advisory opinion” from plaintiffs, and that the Commission’s

failure to issue the requested advisory opinion within sixty days was “arbitrary, capricious, an

abuse of discretion, and not in accordance with law.” Id. at ¶¶ 52, 54. Finally, Count IV states a

claim under the Declaratory Judgment Act, 28 U.S.C. § 2201, seeking a declaratory judgment that

plaintiffs’ Proposed Transactions are legally permissible. Id. at ¶ 61. 3

       The FEC submitted its opposition to plaintiffs’ motion for preliminary injunction on

October 1. In it, the Commission argues that plaintiffs have no right of action under FECA or the

Declaratory Judgment Act, Opp’n at 2, and insists that plaintiffs’ APA claims cannot stand

because, among other reasons, the FEC was legally barred from rendering the requested advisory

opinion within the sixty-day period after receipt of plaintiffs’ request for want of a quorum, id. at

2–3. The FEC further notes that “plaintiffs’ purported First Amendment claim merely recasts their




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           Plaintiffs seek similar declaratory relief in Counts I and II. Compl. at ¶¶ 35, 44.

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statutory claims” and “is based on the Commission’s supposedly unlawful failure to issue an

advisory opinion.” Id. at 17 n.7.

   III.      Legal Standard

          “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat. Res. Def. Counsel, 555 U.S. 7, 24 (2008). Before a preliminary injunction may issue,

plaintiffs “must make a ‘clear showing’ that four factors, taken together, warrant relief: likely

success on the merits, likely irreparable harm in the absence of preliminary relief, a balance of the

equities in [their] favor, and accord with the public interest.” Pursuing Am.’s Greatness v. FEC,

831 F.3d 500, 505 (D.C. Cir. 2016) (quoting Winter, 555 U.S. at 20, 22).

          The first two factors are paramount in the preliminary injunction analysis. First, “without

a likelihood of success on the merits, [p]laintiffs are not entitled to a preliminary injunction

regardless of their showing on the other factors.” Brown v. FEC, 386 F. Supp. 3d 16, 24 (D.D.C.

2019) (citing Ark. Dairy Coop Ass’n, Inc. v. U.S. Dep’t of Agric., 573 F.3d 815, 832 (D.C. Cir.

2009)); see also Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 10

(D.C. Cir. 2019) (“A foundational requirement for obtaining preliminary injunctive relief is that

the plaintiffs demonstrate a likelihood of success on the merits.”). Further, the D.C. Circuit “has

suggested, without deciding, that Winter should be read to . . . require[e] plaintiffs to independently

demonstrate both a likelihood of success on the merits and irreparable harm.” Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d 4, 26 (D.D.C. 2016) (quoting Sherley

v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)).

          As for the latter two factors, where, as here, the government opposes the issuance of a

preliminary injunction, the Court analyzes both together “because the government’s interest is the


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public interest.” Pursuing Am.’s Greatness, 831 F.3d at 511 (citing Nken v. Holder, 556 U.S. 418,

435 (2009)).

                                                   ANALYSIS

         Plaintiffs have asserted that a preliminary injunction is necessary to bar the FEC “from

investigating them, commencing administrative proceedings against or concerning them, imposing

civil fines or other sanctions, ordering the reversal of the transaction, or making a criminal referral”

with respect to the Proposed Transactions. Mot. for Prelim. Inj. [ECF No. 2] at 1. Absent an

injunction, plaintiffs claim, “the threat of such consequences continues to chill [them] from

engaging in . . . constitutionally protected activities.” Mem. of Law in Supp. of Pls.’ Mot. for

Prelim. Inj. at 1. The FEC retorts that plaintiffs’ request “is at odds with the purpose of a

preliminary injunction, which ‘is merely to preserve the relative positions of the parties until a trial

on the merits can be held.’” Opp’n at 16 (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395

(1981)). The Court will now analyze each of the relevant preliminary injunction factors, 4 placing

due emphasis on the first two, to determine whether plaintiffs have met their burden to obtain the

“extraordinary remedy” they seek. See Standing Rock Sioux Tribe, 205 F. Supp. 3d at 26 (“[T]he

Court may deny a motion for preliminary injunction, without further inquiry, upon finding that a

plaintiff is unable to show either irreparable injury or a likelihood of success on the merits.”).

    I.         Likelihood of Success on the Merits

         Because plaintiffs fail to show a likelihood of success on the merits on any of the counts

raised in their complaint, they are not entitled to a preliminary injunction. See id. (“[F]ailure to


         4
           The FEC suggests that the court may in its discretion deny plaintiffs’ motion on the grounds that plaintiffs
failed to follow certain rules of procedure. Opp’n at 15 n.6. Because the FEC did not demonstrate any prejudice
caused by plaintiffs’ alleged procedural faults, the Court will proceed to the merits of plaintiffs’ motion.


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show a likelihood of success on the merits alone is sufficient to defeat a preliminary-injunction

motion.” (citing Ark. Dairy Coop Ass’n, Inc., 573 F.3d at 832)). Fundamental to the Court’s

conclusion on this point is the plain fact that the FEC’s conduct in processing and disposing of

plaintiffs’ advisory opinion request was not only legal, it was statutorily mandated. Accordingly,

to the concrete question of whether the FEC violated plaintiffs’ rights—whether statutory or

constitutional—by failing to issue a favorable advisory opinion, the answer is a firm no, and no

suit based on such an allegation can possibly succeed. At the same time, the Court’s preliminary

injunction analysis need not and will not reach a dispositive conclusion on the ultimate legality of

the Proposed Transfers. Suffice it to say, plaintiffs have not made the requisite “clear showing”

that the Proposed Transfers are legal and/or constitutionally protected for this Court to shield them

from any scrutiny by the very agency charged by Congress with resolving such questions of

legality in the first instance.

              A. Count I: The FEC’s Failure to Issue a Favorable Advisory Opinion Violated
                 Plaintiffs’ First Amendment Rights 5

         Plaintiffs’ First Amendment claim alleges that, “[b]y failing to fulfill its statutory

obligation to issue an advisory opinion confirming the legality of McCutcheon’s and MFF’s

intended course of conduct, the Commission has substantially burdened and chilled their exercise

of First Amendment rights.” Compl. at 12. As the FEC correctly points out, plaintiffs “do not

allege that either the individual limit on contributions to national parties, which was upheld in

McConnell, or the unlimited transfer provision between a candidate committee and national parties



          5
            The FEC contends that plaintiffs “have not sought preliminary relief on their constitutional claim,” Opp’n
at 41, but the Court reads plaintiffs’ motion as at least implicitly incorporating their constitutional claim, see Mem. of
Law in Supp. of Pls.’ Mot. for Prelim. Inj. at 9 (arguing that absence of a favorable advisory opinion left plaintiffs in
a “constitutionally untenable position of either refraining from exercising their constitutional and statutory rights, or
engaging in their intended transfers and facing the prospect of” enforcement), and will thus address the likelihood of
that claim’s success on the merits here.

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are unconstitutional.” Opp’n at 17 n.7. The constitutional harm alleged thus does not arise out of

any law, regulation, or action taken or threatened by the FEC; instead, plaintiffs purport to be

“chilled” in their right to free speech and association by the Commission’s failure to issue the

desired advisory opinion that would have blessed their proposed course of conduct.

       For this claim to succeed, plaintiffs would, at a minimum, need to identify a constitutional

right to transfer unlimited amounts of a candidate’s personal funds that have been deposited into

his or her campaign account to political party committees. They have not even attempted to do so.

Plaintiffs accurately cite Buckley for the proposition that “a candidate has a constitutional right to

make unlimited expenditures in support of his own campaign,” but they go on to admit that “does

not necessarily mean the candidate may make unlimited contributions of his personal funds to a

political party committee by simply transferring them through his candidate committee.” See

Compl. at 8. In their motion for a preliminary injunction, plaintiffs once again fail to establish a

nexus between political expenditures protected by the First Amendment and the Proposed

Transactions: they assert that “federal regulations”—not the Constitution—“permit candidate

committees to transfer unlimited amounts of their funds to national political party committees.”

Mem. of Law in Supp. of Pls.’ Mot. for Prelim. Inj. at 12 (citing 11. C.F.R. § 113.2(c) (“funds in

a campaign account . . . [m]ay be transferred without limitation to any national, State, or local

committee of any political party.”)). They then go on to aver that they are “likely to succeed in

demonstrating that the Intended Transfers are legal,” id., not that they are protected by the

Constitution. Plaintiffs’ demure argumentation is a far cry from staking a constitutional right that

the FEC allegedly violated by failing to issue a favorable advisory opinion.

       Moreover, plaintiffs’ constitutional claim presupposes that they are constitutionally

entitled to a favorable advisory opinion and concomitant safe harbor protection for the Proposed

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Transactions. But they assume too much. Congress placed a high bar for the issuance of FEC

advisory opinions and the safe harbor they provide by requiring the affirmative votes of four of

the FEC’s six commissioners. See 52 U.S.C. § 30106(c). Considering that no more than three

members of the FEC may be affiliated with the same political party, id. § 30106(a)(1), an advisory

opinion request must be sufficiently meritorious as to generate a bipartisan consensus in order to

secure the requisite level of support. Plaintiffs have not pointed to any evidence indicating that

their proposed course of action—which plaintiffs’ counsel described as “willful campaign finance

violations” when executed by Michael Bloomberg, see Bloomberg Compl. at 1—would have

garnered the four votes necessary to obtain the safe harbor.

         Plaintiffs’ reliance on Carey v. FEC, 791 F. Supp. 2d 121 (D.D.C. 2011), in their reply

brief to support the proposition that a preliminary injunction is constitutionally warranted here is

unavailing. See Pls.’ Reply [ECF No. 12] at 6. In Carey, the court issued a preliminary injunction

against the FEC after the Commission failed to issue a requested advisory opinion 6 determining

“whether it would be lawful for [a hybrid PAC] to accept unlimited contributions for the purpose

of making independent expenditures” separate and segregated from its campaign contribution

funds subject to FECA’s contribution limits. 791 F. Supp. 2d at 127. The court found that the

plaintiff PAC was likely to succeed on the merits of its constitutional claim because the course of

action proposed in its advisory opinion request was “squarely approved by [the D.C. Circuit’s

decision in] Emily’s List, leading to the inevitable conclusion that [plaintiff] ha[d] a strong

possibility of success on the merits.” Id. at 131 (citing Emily’s List v. FEC, 581 F.3d 1 (D.C. Cir.

2009)). Here, far from citing binding precedent to make the case for a constitutional right to



         6
           In Carey, five members of the Commission split 3–2 on votes held on two draft advisory opinions. Although
there was a quorum, the draft opinions failed to secure the requisite four affirmative votes to issue. See 791 F. Supp.
2d at 127.

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conduct the Proposed Transactions as in Carey, plaintiffs’ advisory opinion request focuses on

developing counterarguments against the legality of the Proposed Transactions. While this

approach is consistent with plaintiffs’ attorney’s crusade against the so-called “Bloomberg

Billionaire Loophole,” it is not likely to propel plaintiffs’ constitutional claim to success on the

merits.

                B. Count II: The FEC Violated FECA by Failing to Issue an Advisory Opinion
                   Within 60 Days

          Plaintiffs allege that the FEC violated 52 U.S.C. § 30108(a) when it failed to issue an

advisory opinion within sixty days of determining that plaintiffs’ request was “complete.” The

FEC contends that this claim cannot succeed on the merits because no statutory cause of action

exists under FECA to challenge its advisory opinion process. Opp’n at 18. The Court agrees. 7

          FECA includes certain limited provisions for judicial review of FEC action. For example,

52 U.S.C. § 30109(a)(8) permits an aggrieved party to challenge the FEC’s failure or refusal to act

on a private administrative complaint like the one filed by plaintiffs’ counsel against Bloomberg.

Section 30109(a)(4)(C)(iii) entitles a person sanctioned by the FEC to seek judicial review. And

Section 30110 permits the FEC, the national committee of any political party, or any eligible voter

to file suit to challenge or construe the constitutionality of any statutory provision of FECA.

However, no other mechanisms for judicial review, nor other statutory causes of action, exist under

FECA—including for judicial review of advisory opinions or the FEC’s failure to issue them. See

Unity08 v. FEC, 596 F.3d 861, 866 (D.C. Cir. 2010) (reviewing challenge to adverse FEC advisory

opinion under the APA). Instead, as the D.C. Circuit has repeatedly held, agency actions, rules,




          Indeed, although plaintiffs have replied to some of the FEC’s arguments contained in its opposition brief,
          7

they have not addressed the absence of an independent cause of action to bring Count II.

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and regulations are subject to judicial review under the APA where, as here, “there is no other

adequate remedy in a court.” Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of

Justice, 846 F.3d 1235, 1238 (D.C. Cir. 2017) (quoting 5 U.S.C. § 704); see also Perot v. FEC, 97

F.3d 553, 560 (D.C. Cir. 1996) (per curiam) (“[A]n action challenging [FECA’s] implementing

regulations should be brought under the judicial review provisions of the Administrative Procedure

Act.”).

                C. Count III: The FEC’s Failure to Issue the Requested Advisory Opinion Was
                   Unlawful and/or Arbitrary and Capricious Under the APA

          Under the APA, 5 U.S.C. § 706(1) & (2)(A), plaintiffs allege that the FEC “unlawfully

withheld” 8 from them a favorable advisory opinion, and that the FEC’s failure to issue the

requested opinion was “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” See Compl. at 15–17. Because the FEC’s conduct was in accordance with the law,

both of plaintiff’s APA claims are unlikely to succeed.

          With respect to plaintiffs’ assertion that the FEC “unlawfully withheld” a favorable

advisory opinion to which plaintiffs were otherwise entitled, the Supreme Court has made clear

that “a claim under § 706(1) can proceed only where a plaintiff asserts that an agency failed to take

a discrete agency action that it is required to take.” Norton v. S. Utah Wilderness All., 542 U.S.

55, 64 (2004). If such a claim is found meritorious, the proper remedy is for the court to compel

the withheld or delayed agency action. See 5 U.S.C. § 706(1). Although the FEC is required to

render an advisory opinion in response to a complete request within sixty days of receipt under

52 U.S.C. § 30108, it is prohibited from issuing an advisory opinion without the affirmative votes



          Plaintiffs do not allege that the FEC “unreasonably delayed” its processing of the plaintiffs’ advisory
          8

opinion request, see Compl. ¶ 52, so the Court limits its analysis to whether the Commission’s failure to issue the
requested opinion was lawful.

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of four Commissioners approving such issuance under 52 U.S.C. § 30106. There is nothing in the

statute to suggest, nor have plaintiffs identified any authority to support, the proposition that the

FEC is authorized to circumvent the four-vote requirement necessary to render an advisory

opinion. Indeed, FEC regulations permit the issuance of “a written response stating that the

Commission was unable to approve an advisory opinion by the required affirmative vote of 4

members” in lieu of a requested advisory opinion. See 11 C.F.R. § 112.4(a). Plaintiffs do not

purport to challenge the validity of that rule and the Court sees no reason to call it into question

here.

        Instead, the Court is called upon to “construe [the] statute[], not isolated provisions.” King

v. Burwell, 576 U.S. 473, 486 (2015) (citation omitted). The two provisions at issue indicate

Congress’s dual intent that the FEC respond expeditiously to requests for advisory opinions, and

that it only issue advisory opinions where a bipartisan majority of its members agree on the merits

of a request. If this Court—as it must—construes the statute “so that effect is given to all its

provisions, so that no part will be inoperative or superfluous, void or insignificant,” Hibbs v. Winn,

542 U.S. 88, 101 (2004) (citation omitted), plaintiffs are unlikely to succeed on the merits of their

claim that the FEC unlawfully withheld the requested advisory opinion. Indeed, to compel the

FEC to contravene its statutory requirements and issue an advisory opinion with fewer than four

affirmative votes would impermissibly “produce an absurd . . . result which Congress could not

have intended,” Clinton v. New York, 524 U.S. 417, 429 (1998) (citation omitted).

        The temporary existence of a quorum during the pendency of the request does not change

this conclusion. There was a massive backlog of pending requests received before plaintiffs’

request, see Opp’n at 22–23; Weintraub Stmt., and the FEC was not required to—nor could it

reasonably be expected to—resolve all of those requests in just a few weeks. As the FEC points

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out, plaintiffs’ request, having been rendered “complete” on June 9, “was not statutorily eligible

for consideration at [the Commission’s lone 2020 meeting on June 18] since the mandated public

comment period had not yet closed.” Opp’n at 22 & n.9 (citing 52 U.S.C. § 30108(d) (providing

ten-day public comment period following the publication of a complete advisory opinion request)).

       With respect to plaintiffs’ claim that the FEC’s failure to issue the requested advisory

opinion was arbitrary and capricious under 5 U.S.C. § 706(2)(A), the parties dispute whether the

FEC’s failure to render the requested letter constituted a “final agency action” as is required for

judicial review under 5 U.S.C. § 704. See Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 188

(D.C. Cir. 2006). However, the Court need not resolve that question to conclude that plaintiffs’

arbitrary-and-capricious claim is unlikely to succeed on the merits, so it will assume, arguendo,

that the FEC’s August 10 letter did constitute a reviewable final action.

       The bedrock principle underlying the Supreme Court’s APA jurisprudence is that an

agency “may not exercise its authority ‘in a manner that is inconsistent with the administrative

structure that Congress enacted into law.’” Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81,

91 (2002) (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 125 (2000)); see

also Lyng v. Payne, 476 U.S. 926, 937 (1986) (“[A]n agency’s power is no greater than that

delegated to it by Congress.”). As already discussed, the FEC was not authorized to issue the

advisory opinion requested by plaintiffs when it could not possibly have secured affirmative votes

from four Commissioners—which are required to take such an action. A fortiori, then, the

Commission’s conduct was compelled by law and could not have been arbitrary, capricious, or an

abuse of discretion. If anything, the FEC would abuse its discretion by rendering an advisory

opinion without the requisite four-vote approval, and the Court would certainly not compel it to

do so here.

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           D. Count IV: Plaintiff Is Entitled to a Declaration Under the Declaratory Judgment
              Act that the Proposed Transactions Are Legal and Constitutionally Protected
       McCutcheon’s request for a pre-enforcement declaratory judgment appears to seek a

declaration that the proposed transfers are protected by the first amendment and/or are otherwise

legal under FECA. The Declaratory Judgment Act empowers the Court to “declare the rights and

other legal relations of any interested party seeking such declaration, whether or not further relief

is or could be sought,” as long as “a case of actual controversy” exists. 28 U.S.C. § 2201(a). The

FEC contests plaintiffs’ Count IV on the ground that “[t]he Declaratory Judgment Act does not

itself provide a cause of action.” Opp’n at 39 (quoting Comm. on the Judiciary of U.S. House of

Representatives v. McGahn, 973 F.3d 121, 124 (D.C. Cir. 2020), vacated pending reh’g en banc,

No. 19-5331 (Oct. 15, 2020)). The decision of the split panel of the D.C. Circuit in McGahn was

since vacated pending rehearing en banc; but even assuming, again arguendo, that plaintiffs do

have a statutory cause of action to press their claims under the Declaratory Judgment Act, see

McGahn, 973 F.3d at 127 (Rogers, J., dissenting), such claims would likely fail on the merits.

       As noted above, plaintiffs’ arguments as to why the Proposed Transactions are likely illegal

are more detailed and more robust on the record before this Court than their arguments supporting

the Proposed Transactions’ legality under FECA. In support of the Proposed Transactions,

plaintiffs lay out a straightforward two-step analysis rooted in the FEC’s regulations. First, a

candidate for federal office like McCutcheon may make unlimited contributions to his own

campaign. See Mem. of Law in Supp. of Pls.’ Mot. for Prelim. Inj. at 12 (citing 11 C.F.R. § 110.10;

FEC Advisory Op. 1984-60 at 2 (Jan. 11, 1985)). From there, his campaign committee may

transfer unlimited funds to national party committees. Id. (citing 11 C.F.R. §113.2(c)). If these

provisions stood alone, plaintiffs might well persuade the Court that the Proposed Transactions are

legal under FECA. But they do not stand alone.

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       Plaintiffs’ advisory opinion request presents forceful arguments against the legality of the

Proposed Transactions, as do the allegations pressed by plaintiffs’ counsel in his FEC complaint

and public statements against identical conduct by Michael Bloomberg. See Compl. Ex. 1 at 4–7;

Bloomberg Compl. The Court acknowledges that there appears to be some tension between

FECA’s provision for unlimited transfers from a campaign committee to a party committee on the

one hand, and its safeguards against circumvention of contribution limits through conduits on the

other. In the case of a totally self-funded candidate like McCutcheon, it is indeed difficult to

distinguish on principle a transfer of funds from his now-inactive campaign to a party committee

from an individual contribution subject to statutory limits imposed to mitigate actual or apparent

corruption in campaign finance. In any event, under existing law, it is far from clear where the

FEC—or a court deciding the question on the merits—would come down. Accordingly, plaintiffs

have not met their burden to establish a likelihood of success sufficient to justify the “extraordinary

remedy” of granting a preliminary injunction, see Winter, 555 U.S. at 24, that would hamstring

the FEC’s enforcement powers. The FEC is statutorily empowered to interpret FECA in the first

instance and should do so via advisory opinion once a quorum is obtained; in the meanwhile, the

Court will not fill in and assume that responsibility. See 52 U.S.C. §§ 30106-09; see also FEC v.

Democratic Senatorial Campaign Comm., 454 U.S. 27, 37 (1981) (holding that the FEC is

“precisely the type of agency to which deference should presumptively be afforded”).

       Nor does the First Amendment provide a right likely to entitle plaintiffs to declaratory

relief. There is no constitutional right for an individual to make contributions to a political party

committee in excess of the limits set by Congress, whether directly or through a conduit. See

McCutcheon, 572 U.S. at 192–94 (“[W]e have previously upheld [base limits] as serving the

permissible objective of combatting corruption. . . . The base limits apply with equal force to


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contributions that are ‘in any way earmarked or otherwise directed through an intermediary or

conduit’ to a candidate.” (quoting 2 U.S.C. § 441a(a)(8))); McConnell, 540 U.S. at 142–45. And

as discussed above, plaintiffs do not appear to argue that FECA’s provision for the unlimited

transfer of campaign funds is rooted in the First Amendment.

             E. Summary

          For the foregoing reasons, plaintiffs have not satisfied the “foundational requirement” of

showing a likelihood of success on the merits to warrant the extraordinary relief of a preliminary

injunction. See Guedes 920 F.3d at 10; see also Brown, 386 F. Supp. 3d at 24 (“[W]ithout a

likelihood of success on the merits, [p]laintiffs are not entitled to a preliminary injunction

regardless of their showing on the other factors.”). The Court thus need not reach the other

preliminary injunction factors to deny the motion, but will briefly discuss why they, too, are not

satisfied.

    II.      Irreparable Injury

          Plaintiffs will not suffer irreparable injury upon this Court’s denial of their motion. The

D.C. Circuit “has set a high standard for irreparable injury,” demanding that the purported injury

“be both certain and great . . . actual and not theoretical.” Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citation omitted). Further, plaintiffs must make a

“clear showing” that preliminary injunctive relief is necessary to avoid irreparable harm; a

preliminary injunction may not issue “based only on a possibility” that plaintiff will otherwise be

harmed. Winter, 555 U.S. at 22.

          Plaintiffs allege two classes of irreparable harm, neither of which comes close to the “clear

showing” required to obtain relief. First, they cite the D.C. Circuit’s opinion in Unity08 for the


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proposition that the FEC’s failure to issue their requested advisory opinion deprives them of a legal

right to the safe harbor protections afforded to recipients of favorable FEC advisory opinions.

Mem. of Law in Supp. of Pls.’ Mot. for Prelim. Inj. at 12–13 (citing 596 F.3d at 865). But Unity08

was not a preliminary injunction case at all: it was a challenge to a duly rendered unfavorable

advisory opinion under the APA. See 596 F.3d at 863. As discussed supra, here the FEC was not

legally authorized to issue the plaintiffs’ requested advisory opinion, much less required to do so.

A preliminary injunction extending the safe harbor protections that the requested opinion would

afford would thus displace the process Congress put in place for extending those protections. Such

an outcome would cause harm to the balance of powers more than it would prevent harm to

plaintiffs. See SEC v. Chenery Corp., 318 U.S. 80, 88 (1943) (holding that a “court cannot intrude

upon the domain which Congress has exclusively entrusted to an administrative agency”).

       Plaintiffs further claim that they will suffer irreparable harm through the chilling of their

First Amendment right to execute the Proposed Transactions. Once again, plaintiffs have not

articulated a constitutional basis for FECA’s allowance of unlimited transfers of campaign funds

to party committees that would entitle them to preliminary injunctive relief. They cannot suffer

infringement of a First Amendment right that does not exist. The cases plaintiffs cite in their

motion and reply uniformly involve assertions of recognized constitutional rights that are

jeopardized by statutes, agency actions, or regulations that improperly burden those rights. See,

e.g., Buckley, 424 U.S. at 22 (First Amendment right to make campaign expenditures necessary

to political speech); McCutcheon, 572 U.S. at 203 (First Amendment right to contribute an

unlimited amount of money during an election cycle, provided that contributions comply with

FECA base limits); Carey, 791 F. Supp. 2d at 136 (First Amendment right of non-profit to receive

unlimited contributions for independent expenditures); Woodhouse v. Me. Comm’n on Gov.


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Ethics and Election Pracs., 40 F. Supp. 3d 186, 195–96 (D. Me. 2014) (equal protection right for

third-party candidates to receive up to the same amount of campaign contributions as major-party

candidates); Fund for La.’s Future v. La. Bd. Of Ethics, 17 F. Supp. 3d 562, 575 (E.D. La. 2014)

(First Amendment right of independent group to raise unlimited funds to make independent

expenditures). But here, plaintiffs do not even challenge the constitutionality of the statute they

claim ultimately to be chilled by—the FECA limit on contributions to political parties. Indeed,

such an attack would likely fail under McConnell. See Republican Nat’l Comm. v. FEC, 698 F.

Supp. 2d 150, 159 (D.D.C. 2010) (rejecting, via three-judge panel, as-applied challenge to limits

on contributions to party committees because “contributions to national parties have much the

same tendency as contributions to federal candidates to result in quid pro quo corruption or at least

the appearance of quid pro quo corruption” (citing McConnell, 540 U.S. at 144)). 9 Instead, then,

plaintiffs attack the FEC for failing to give them a pass to engage in conduct they readily admit

“may violate federal law.” Compl. Ex. 1 at 8.

         Any harm plaintiffs might suffer from their inability to make potentially illegal

contributions to a political party is a far cry from the harm the Supreme Court recognized in

McCutcheon, where McCutcheon was barred from associating with campaigns that represented

his policy preferences after he hit the aggregate limits then in place for a given campaign cycle.

See 572 U.S. at 203. Hence, “[p]laintiffs will not ‘suffer irreparable harm in the absence of

preliminary relief’; they will simply be required to adhere to the regulatory regime that has

governed campaign finance for decades.” Rufer, 64 F. Supp. 3d at 206 (citation omitted) (rejecting

request for preliminary injunction against enforcement of limits on contributions to political party



         9
           If plaintiffs did wish to challenge the constitutionality of any of FECA’s provisions, the proper way to do
so would be to file suit under 52 U.S.C. § 30110 requesting District Court certification of their constitutional challenge
to an en banc panel of the D.C. Circuit. See Holmes v. FEC, 823 F.3d 69 (D.D.C. 2016).

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committees). Within the bounds of that regulatory regime, as the FEC points out, plaintiffs are

clearly entitled to contribute up to $35,500 to both the LNC’s and RNC’s general treasury

accounts, and may contribute much more to their non-general accounts, provided that such

contributions are properly disclosed and comply with applicable limits. See Opp’n at 13, 43.

   III.      Balance of Equities and Public Interest

          Needless to say in light of the foregoing, the balance of equities does not favor granting

plaintiffs’ motion, nor would an injunction be in the public interest. The 2020 elections are just

weeks away, and granting plaintiffs’ motion could add yet another drop of chaos into the ocean of

tumult that has characterized this year. See Rufer, 64 F. Supp. 3d at 206. Plaintiffs’ motion

advances a novel legal theory they contend underlies the so-called “Bloomberg Billionaire

Loophole,” but they spend more time disparaging the alleged loophole than advocating for it. To

grant the requested relief here would thus blaze a rocky and uncertain legal trail and fly in the face

of the Supreme Court’s admonition that “[t]he purpose of a preliminary injunction is merely to

preserve the relative positions of the parties until a trial on the merits can be held.” Camenisch,

451 U.S. at 395.

                                           CONCLUSION

          For the reasons stated above, the Court will deny plaintiffs’ motion for preliminary

injunction. A separate order will be issued on this date.

                                                                                 /s/
                                                                          JOHN D. BATES
                                                                     United States District Judge
Dated: October 19, 2020




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